     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 1 of 30



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                            9/27/17
 JOINT STOCK COMPANY CHANNEL
 ONE RUSSIA WORLDWIDE, et al.,

                Plaintiffs,                           16-CV-1318 (GBD) (BCM)

        -against-                                     MEMORANDUM AND ORDER

 INFOMIR LLC, et al.,

                Defendants.

BARBARA MOSES, United States Magistrate Judge.

       On June 6, 2016, the Honorable George B. Daniels, United States District Judge, issued a

Stipulation, Order, and Permanent Injunction (the Stipulated Injunction) (Dkt. No. 70), which

generally prohibits defendant Actava TV, Inc. (Actava), together with its Chief Executive Officer

Rouslan Tsoutiev and its affiliates Master Call Communications, Inc., and Master Call Corporation

(collectively the Actava Defendants) from “broadcasting,” “re-broadcasting,” “otherwise

transmitting,” “infringing,” or “making any use” of various Russian-language television channels

produced by plaintiffs, or their associated logos, without “authorization.” On December 13, 2016,

plaintiffs moved for civil contempt sanctions (Dkt. No. 149), claiming that the Actava Defendants

violated the terms of the Stipulated Injunction by entering into a referral agreement with a former

co-defendant, Matvil Corporation (Matvil), which is now licensed to broadcast plaintiffs’ channels

over the internet. Under the referral agreement, Actava markets subscriptions to Matvil’s service,

in exchange for a hefty portion of the subscription fees paid by the customers it refers.

       Acting pursuant to a referral from Judge Daniels, I heard argument on the contempt motion

on April 24, 2017. During that hearing I denied a motion by the Actava Defendants to strike

plaintiffs’ reply brief, see April 24, 2017 Tr. (4/24 Tr.) (Dkt. No. 243), at 13:11-17, but took the
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 2 of 30



contempt motion under submission. Id. at 59:2-5. For the reasons that follow, I decline to certify

facts constituting contempt to the district judge.

I.     BACKGROUND

       A.      Plaintiffs’ Claims

       Plaintiffs are a group of eight Russian broadcasters suing to redress what they characterize

as the “pirating” and resale of their programming – without permission or license fees – to Russian-

speaking consumers in the United States. Plaintiffs filed this action on February 19, 2016, alleging

that they produce and distribute Russian-language television programming and licensed content

(the Programming) in the Russian Federation and worldwide, via cable and satellite, and that they

own and operate various “famous television channels” (the Channels), including “Channel One,”

“Channel One Russia Worldwide,” “Dom Kino,” “Muzika Pervogo,” “Vremya:dalekoe i blizkoe,”

“Carousel International,” “Telekafe,” “CTC,” “Che TV,” “Domashny,” “REN TV,” “TNT-

Comedy,” “Rain TV-Channel,” and “Nostalgia.” Compl. (Dkt. No. 1), ¶¶ 1-7, 26-54.1 Each of

these Channels “bears a prominent trademark or trademarks and contains repeated identifications

about the source of the Programming.” Id. ¶ 5. Insofar as they are identified in the Complaint, the

“famous marks” are the stylized logos that each Channel uses identify itself on-air. Id. ¶¶ 26-51

(describing Channels and depicting logos); id. ¶ 82 (“Plaintiffs’ Channels are identified by the

famous marks reproduced under the ‘Parties’ heading of this Complaint.”).

       Plaintiffs’ Channels and Programming are distributed “via cable and satellite” in encrypted

form, “such that only authorized recipients may access it.” Compl. ¶¶ 3-4. In addition, each




1
  Plaintiffs filed a First Amended Complaint on April 5, 2017. (Dkt. No. 211.) By that time,
however, they had settled with the Actava Defendants and executed the Stipulated Injunction now
at issue. Since the Amended Complaint contains no allegations against the Actava Defendants, all
citations in this Memorandum and Order are to the original Complaint.

                                                     2
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 3 of 30



plaintiff has entered into exclusive licensing agreements with third parties to distribute the

Channels and Programming via internet protocol television (IPTV) in the United States. Id. ¶¶ 32,

35, 37, 39, 41, 44, 48, 53, 84.2 Only the license holders are authorized “to broadcast, re-broadcast

or otherwise transmit Plaintiffs’ protected, copyrighted programming in the United States via IPTV

or otherwise.” Id. ¶¶ 4, 86.

       The Complaint named nine defendants, alleging that none of them was licensed to

broadcast, rebroadcast, or otherwise transmit plaintiffs’ content over IPTV, but that all of them

nonetheless did so, unlawfully, by “hack[ing], captur[ing] or otherwise acquir[ing] without

permission the encrypted signals of the Plaintiffs’ Channels and transmit[ing] those signals to

[their] servers which in turn stream the wrongfully acquired signals over IPTV to paying customers

in this judicial district and elsewhere.” Compl. ¶¶ 6, 12-14, 86.3 In addition, plaintiffs alleged,

“defendants misled consumers by making it appear on their Websites that they have the right to

rebroadcast Plaintiffs Programing [sic] and Channels by, among other things, displaying the

Channels [sic] famous marks.” Id. ¶ 15. The Actava Defendants allegedly accomplished this

unlawful scheme by streaming plaintiffs’ Channels to their subscribers through their website

actava.tv (the Website). Id. ¶¶ 7, 87 & Ex. 11. Another defendant, Matvil (sued together with its

CEO Mikhail Gayster), allegedly used a website at www.etvnet.com. Id. ¶¶ 7, 88 & Ex. 12.




2
 IPTV is “distribution of television programming over a network running the IP protocol.” Ray
Horak, Webster’s New World Telecom Dictionary 252 (1st ed. 2008). A consumer using the IPTV
software “is permitted to access a unique Internet Protocol (‘IP’) address from which the consumer
can access a livestream of the program.” Compl. ¶ 21.
3
 “Streaming” is “[t]he process of providing a steady flow of audio or video data so that an Internet
user is able to access it as it is transmitted.” ABC, Inc. v. Aereo, Inc., 134 S. Ct. 2498, 2503 (2014)
(quoting A Dictionary of Computing 494 (6th ed. 2008)).

                                                  3
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 4 of 30



       The Complaint asserted claims against all defendants for: (1) unauthorized publication or

use of communications in violation of the Federal Communications Act of 1934, 47 U.S.C.

§ 605(a); (2) circumvention in violation of the Digital Millenium Copyright Act, 17 U.S.C. § 1201;

(3) trademark infringement in violation of § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a);

(4) false advertising in violation of § 43(a) of the Lanham Act, id.; (5) tarnishment in violation of

§ 43(c) of the Lanham Act, 15 U.S.C. § 1125(c); (6) copyright infringement in violation of the

Copyright Act, 17 U.S.C. § 101 et seq.; (7) secondary copyright infringement; (8) deceptive

business acts and practices in violation of N.Y. Gen. Bus. L. § 349; (9) unfair competition in

violation of New York common law; and (10) a declaratory judgment. Compl. ¶¶ 92-156.

       On March 8, 2016, Judge Daniels referred the case to me for general pretrial management

pursuant to 28 U.S.C. § 636(b)(1)(A) (Dkt. No. 35), and on June 1, 2016, the district judge

expanded the reference to include dispositive motions for report and recommendation pursuant to

28 U.S.C. § 636(b)(1)(B). (Dkt. No. 64.)

       In a series of notices filed pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) between March 3 and

September 22, 2016, the plaintiffs voluntarily dismissed their claims against Matvil and Gayster.

(Dkt. Nos. 28, 29, 41 86, 103, 122.)

       B.      The Stipulated Injunction

       On April 26, 2016, plaintiffs and the Actava Defendants entered into a confidential

Settlement Agreement and Release (Settlement Agreement), which they did not file on the docket

of this action. See Declaration of Raymond J. Dowd dated Dec. 13, 2016 (Dkt. No. 150), ¶ 8 &

Ex. 6.4 On June 6, 2016, Judge Daniels entered the Stipulated Injunction, which noted that



4
  The version of the Settlement Agreement filed on the public docket is heavily redacted, in part
to protect the confidentiality of its financial terms. See Dowd Decl. Ex. 6 (Dkt. No. 150-6, at ECF
pages 7-14).
                                                 4
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 5 of 30



plaintiffs and the Actava Defendants had entered into a “confidential settlement” and went on to

dismiss all of plaintiffs’ claims against the Actava Defendants “[w]ith the exception of any claim

arising from the enforcement of the terms of this Injunction.” Stip. Inj. at ECF page 2. The

operative terms of the Stipulated Injunction are as follows:

       2.        Defendants [meaning, for purposes of the Stipulated Injunction, the Actava
                 Defendants], as well as their parents, subsidiaries, affiliates, predecessors,
                 successors, divisions, operating units, principals, officers, directors,
                 shareholders, employees, attorneys, members, agents, heirs,
                 representatives, spin-offs, and future assigns as well as any persons or
                 entities in active concert or participation with Defendants are
                 PERMANENTLY ENJOINED and RESTRAINED from:

            a.      Broadcasting, re-broadcasting or otherwise transmitting Plaintiffs’
                    Broadcasts as identified in Annex 1 or any other channel that Plaintiffs
                    may in the future broadcast via any medium, including but not limited
                    to internet protocol television (“IPTV”) and social media, without
                    authorization;

            b.      directly or indirectly infringing or making any use, in any manner
                    whatsoever, of Plaintiffs’ Broadcasts including any associated programs
                    without authorization;

            c.      directly or indirectly infringing or making any use, in any manner
                    whatsoever, of Plaintiffs’ Marks as identified in Annex 1 without
                    authorization;

            d.      publishing or distributing any promotional materials referring to
                    Plaintiffs’ Broadcasts or Marks; in any medium, including, but not
                    limited to the internet (including IPTV and social media), television,
                    radio, newspapers, magazines, direct mail or oral communication
                    without authorization;

       3.        Defendants shall not register, purchase, manage or have any ownership
                 interest in any website or device engaged in the unauthorized copying,
                 caching, retransmission or distribution of Plaintiffs’ Broadcasts;

       4.        This Injunction shall apply to Defendants’ parents, subsidiaries, affiliates,
                 predecessors, successors, divisions, operating units, principals, officers,
                 directors, shareholders, employees, attorneys, members, agents, heirs,
                 representatives, spin-offs, and future assigns, if any;

       5.        Failure to comply with this Injunction shall be deemed contempt of Court;



                                                   5
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 6 of 30



       6.      This Court shall retain jurisdiction for the limited purpose of enforcement
               of this Injunction including determinations of damages and attorneys’ fees
               which shall be recoverable in connection with any enforcement proceeding;

       7.      The Clerk of this Court shall enter Judgment terminating this Action as to
               Defendants Actava TV, Inc. Master Call, Inc., Master Call Corporation and
               Rouslan Tsoutiev.

Stip. Inj. ¶¶ 2-7. Annex 1, attached to the Stipulated Injunction at ECF pages 5-7, is a two-column

document titled “Broadcasts and Marks.” The left-hand column lists the names of plaintiffs’

Channels, in English (for example, “Channel One”). Thus, the term “Broadcasts” appears to mean

plaintiffs’ Channels. The right-hand column of Annex 1 displays the logos of the listed Channels,

as previously depicted in the Complaint. The term “Marks” thus appears to mean these logos. The

Stipulated Injunction does not define the terms “broadcasting,” “re-broadcasting,” “transmitting,”

“infringing,” or “authorization.”5

       The Clerk of the Court entered a Judgment on June 6, 2016 (Dkt. No. 72), followed by a

Corrected Judgment on June 14, 2016 (Dkt. No. 76), reciting the terms of the Stipulated Injunction

and terminating the action as to the Actava Defendants.6


5
  Similarly, the redacted version of the Settlement Agreement presented to the Court does not
define any of those terms. Paragraph 6(d), however, contains a representation and warranty that
the Actava Defendants “are not presently and will not in the future broadcast, copy, distribute or
otherwise use the Broadcasts in any manner, including on the Website, without the express written
consent of the relevant Plaintiffs or an authorized representative thereof, as set forth in
subparagraph (e) below.” Subparagraph (e), in turn, permits Tsoutiev to “seek to enter into a
license agreement with a Plaintiff or Plaintiffs.”
6
  The Settlement Agreement resolved not only the claims against the Actava Defendants in this
action, but also the claims previously asserted against Actava by some of the same plaintiffs in an
earlier-filed action entitled Closed Joint Stock Company “CTC” Network v. Actava TV, Inc., No.
15-CV-8681 (BCM) (S.D.N.Y.) (CTC Network), which was before me for all purposes pursuant
to 28 U.S.C. § 636(c). On June 3, 2016, I entered a Stipulated Injunction in CTC Network,
containing substantially the same terms as the Stipulated Injunction that Judge Daniels entered in
the instant action. (See Dkt. No. 74 in CTC Network.) Also on June 3, 2016, the Clerk of the Court
terminated the case. (See Dkt. No. 75 in CTC Network.) The motion papers now before the Court
frequently refer to both injunctions. However, plaintiffs did not make any contempt motion in CTC
Network.

                                                6
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 7 of 30



       C.       The Actava Defendants’ Conduct

       On or about October 4, 2016, plaintiffs’ counsel accessed Actava’s Website and

“discovered that the Actava Defendants were again selling subscriptions to the Broadcasts in

violation of the Injunctions.” Dowd Decl. ¶ 16. The “home” screen of the Website announced:

       Dear Friends!
       We are together again!
       Television service in a qualitatively new format:

               Hundreds of TV channels from Ukraine, Russia, Israel and other countries
               TV Archive for 14 years! NO ADS!
               Video library – a wide selection of movies, TV shows, broadcasts, concerts,
                TV shows [sic]
               Licensed service Russian Internet TV in America
               Service provided by Matvil corp [sic]

Dowd Decl. Ex. 5. The same screen provided a toll-free number for the “Actava TV Team,”

described as a “hotline” for “reactivation subscription or connection.” Id.7

       Although the Website did not explicitly mention any of plaintiffs’ Channels, nor display

their logos, on October 19, 2016, plaintiffs sent the Actava Defendants a letter notifying them of a

“suspected breach of the Settlement Agreement.” Dowd Decl. Ex. 6, at 1. The letter accused

Actava of acting “in concert with” Matvil to “sell[] IPTV packages that include [plaintiffs’]

channels.” Id. Plaintiffs asserted that “this relationship with Matvil is forbidden by the Settlement

and enjoined by [the Stipulated Injunction].” Id. Plaintiffs did not claim that Matvil itself was

forbidden from offering plaintiffs’ Channels. However, plaintiffs wrote, the Stipulated Injunction

prohibits “Actava from using Matvil to distribute [plaintiffs’] channels.” Id. at 2.




7
  Plaintiffs provide both the original Russian text of the Website page and an English translation
prepared by “Google translate.” See Dowd Decl. ¶ 16. Although plaintiffs have not certified that
translation, the Actava Defendants do not object to the motion on this ground and do not dispute
the content of the translation.

                                                  7
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 8 of 30



       The Actava Defendants replied on October 26, 2016, to “clarify the nature of Actava’s

relationship with Matvil, and to reassure your clients that Actava’s conduct is consistent with its

obligations” under the Stipulated Injunction. Dowd Decl. Ex. 7 (Dkt. No. 150-7), at 1. The letter

explained that after settling (separately) with plaintiffs, Actava and Matvil entered into a Referral

Agreement, “under which Actava, as ‘Marketer,’ has agreed to help generate subscribers for

Matvil,” which was “authorized to display, distribute, and broadcast” various Russian-language

programs and channels via the internet. Id. at 1-2. Actava was “advertis[ing] and promot[ing]

Matvil’s IPTV offerings” on the Website, but did not stream any content itself. Instead, Actava

explained, interested customers were redirected to Matvil’s website, where they were required to

“create accounts with Matvil directly for its streaming service. Matvil is responsible for collection

of subscription fees and is responsible for providing any and all content to the user.” Id. at 2. “In

short,” the letter went on, “Actava is simply marketing Matvil by referring additional subscribers.

In so doing, Actava helps increase [plaintiffs’] viewers and licensing revenues.” Id.

       D.      Plaintiffs’ Motion

       Plaintiffs were not persuaded. After additional correspondence, see Dowd Decl. Ex. 8 (Dkt.

No. 150-8), and some fencing over the arrangements for plaintiffs’ counsel to review the Referral

Agreement between Actava and Matvil, see id. Ex. 10 (Dkt. No. 150-10); Declaration of Jonathan

A. Malki dated Jan. 13, 2017 (Dkt. No. 161), ¶¶ 12-18 & Exs. D & F, plaintiffs filed their motion

on December 13, 2016, seeking a ruling that the Actava Defendants are in contempt of the

Stipulated Injunction; damages (after discovery and a damages inquest) in the amount of the

Actava Defendants’ “profits from their contempt” (or, in the alternative, statutory damages under

the Communications Act and the Copyright Act); attorneys’ fees; and a $10,000 coercive penalty




                                                 8
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 9 of 30



“for each day following the Court’s contempt order that the Actava defendants remain in

contempt.” Not. of Motion (Dkt. No. 149), ¶¶ 1-7.8

                       1.      Plaintiffs’ Moving Papers

       In their moving papers, plaintiffs argued that the Actava Defendants violated the Stipulated

Injunction because they “(i) advertised subscriptions to the Broadcasts; (ii) collected subscriptions

[sic] fees from viewers related to the Broadcasts; (iii) advertised the availability of Russian-

language television on the Website; and (iv) distributed an Actava application (or ‘app’) to view

the Broadcasts.” Pl. Mem. of Law dated Dec. 12, 2016 (Dkt. No. 151), at 2. Plaintiffs did not tie

any of these charges to any specific provision of the Stipulated Injunction. However, in addition

to the Website page described above, they presented two additional items of evidence.

       The first was the transcript of a “Russian-language radio advertisement[] for Actava,”

Dowd Decl. ¶ 24, in which “Voice #1” (identified in the transcript as “ACTAVA TV REP”) stated,

among other things:

       Actava offers an annual subscription to the best television service in America. The
       package includes all the leading TV channels, such as the Perviy, TNT, TCT,
       Dozhd, CTC, Domashniy, Sovershenno Sekretno, well and many others. We are
       together again! As they say: with a clear conscience and confidence in today and
       tomorrow!

       The TV service is licensed, so we have no need to hide behind other names, as some
       other companies are regularly forced to do. We have nothing to hide! Actava TV
       offers an honest and reliable service with ambitious plans for the future. We have
       been with you already for 7 years and have no plans to stop.




8
 Although the motion was filed by all eight plaintiffs, against all four of the Actava Defendants,
plaintiffs’ counsel later confirmed that plaintiff Closed Joint Stock Company “TV DARIAL” had
no contempt claim (apparently because Matvil did not carry that plaintiff’s Broadcasts) and that
none of the plaintiffs had any contempt claim against Master Call Communications, Inc. or Master
Call Corporation. See 4/24 Tr. at 31:14-32:3.

                                                 9
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 10 of 30



Dowd Decl. Ex. 9 (Dkt. 150-9), at ECF page 1.9 Two of the channels mentioned in the transcript,

“CTC” and “Domashny,” are also identified (by those names) on Annex 1 to the Stipulated

Injunction as plaintiffs’ Broadcasts.10 Voice #1 goes on to acknowledge that Actava lost customers

during a period in which it “had no opportunity to provide service in full,” but then assures listeners

that as of “[t]oday,” a “considerable number of clients of Actava TV returns [sic] to us from other

companies and, most importantly, . . . they are extremely satisfied with our new format and the

attention received by the caring service professionals from our experienced customers’

department.” Id. at ECF pages 1-2. Voice #1 urges listeners to call Actava’s “800” number to

receive “one year of tv-enjoyment for only $149!” Id. at ECF page 2. Near the end of the transcript,

Voice #1 states, “Broadcasting carried out by Matvil, which has permission to broadcast.” Id.

       The second item of evidence submitted by plaintiffs was the affidavit of an investigator

employed by plaintiffs’ counsel, who attests that on November 11, 2016, using an Android Smart

TV Box, he visited the Website, where he was able to download the “Matvil IPTV app.” Affidavit

of Christopher Vidulich dated Nov. 14, 2016 (Dkt. No. 150-8, at ECF page 4), ¶ 2. Vidulich logged



9
  The transcript of the radio ad is accompanied by a Certification declaring only that it was a “true
and accurate translation” of “a 6.5 minute audio file in the Russian language.” Dowd Decl. Ex. 9,
at ECF page 4. Neither the Certification nor any other declaration in the record describes that
“audio file,” much less identifies the date on which or the source from which it was recorded.
Thus, plaintiffs’ moving papers failed to establish that the transcript is an accurate translation of
an actual radio ad placed by any of the Actava Defendants on or after the date of the Stipulated
Injunction. See Fed. R. Evid. 901(a); Penguin Books U.S.A., Inc. v. New Christian Church of Full
Endeavor, Ltd., 262 F. Supp. 2d 251, 264 (S.D.N.Y. 2003) (ruling that transcript of audiotapes
was inadmissible where, among other things, “[t]he chain of custody of the tapes is less than
perfect” and “the integrity of the transcript and the identity of the speakers has not been
established”). However, the Actava Defendants do not object to the motion on this ground; in fact,
they confirm that they placed the ad on a Russian-language radio station. See infra at 14-15.
10
  According to plaintiffs, two other channels mentioned in the transcript, “Perviy” and “Dozhd,”
actually signify two additional Broadcasts produced by plaintiffs, identified on Annex 1 by their
English names as “Channel One” and “Rain,” respectively. Dowd Decl. ¶ 25. The declarant, who
does not claim to speak Russian, does not explain the basis for his translations.

                                                  10
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 11 of 30



into that app (presumably with Matvil credentials, though his affidavit does not address this issue)

and was presented with a screen saying “Matvil IPTV” in the upper left hand corner and “All

Broadcasts and content provided by Matvil Corp.” in the lower right hand corner. Id. ¶ 4. Vidulich

was then able to view a variety of plaintiffs’ Channels, in Russian, with “the trademark of the

respective channel . . . visible in the upper right corner of the screen.” Id. ¶¶ 5-6. Vidulich attaches

screenshots of Channel One, CTC, Nostalgia, and TNT – all listed on Annex 1 to the Stipulated

Injunction as plaintiffs’ Channels – “playing on the Matvil IPTV app.” Id. ¶¶ 7-10 & Exs. 4-7.

                       2.      Actava Defendants’ Opposition Papers

       In response, the Actava Defendants submitted declarations from Actava CEO Tsoutiev and

from two Matvil employees, CEO Gayster and systems administrator Alexandr Crivoi. In addition,

they submitted an expert report authored by Brad Gilmer of Gilmer & Associates (the Gilmer

Report) (Dkt. No. 157-1), concerning the source of the broadcasts advertised on Actava’s Website.

       Tsoutiev attests that Actava “voluntarily ceased broadcasting of Plaintiffs’ channels” on

February 23, 2016, as soon as it learned of plaintiffs’ claims in the CTC Network action, “and has

not resumed any such broadcasting thereafter.” Declaration of Rouslan Tsoutiev dated Jan. 12,

2017 (Dkt. No. 158), ¶ 5. After settling with plaintiffs (which entailed making a “substantial”

payment and consenting to the Stipulated Injunction), Actava was left “with virtually no business

or income.” Id. ¶ 10. It dismantled its “entire broadcasting infrastructure,” put its computer servers

up for sale, and offered “refunds to all Actava customers for any service that included channels

that Actava would not be able to provide.” Id. ¶¶ 11-12. Thereafter, Actava looked for a way to

“try to restructure our business” without engaging in prohibited conduct. Id. ¶ 12.

       Actava found that opportunity when Matvil’s CEO “suggested to me that Matvil might hire

Actava to serve as a dealer for its services.” Tsoutiev Decl. ¶ 14. On September 8, 2016, the two

companies signed a Referral Agreement (id. ¶ 19), which provides, in pertinent part, that Actava
                                                  11
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 12 of 30



(called Marketer in the contract) will “serve as a source of referrals” for Matvil (called

Broadcaster) but “will not be engaged in broadcasting television content.” Ref. Ag. (Tsoutiev Decl.

Ex. D), at 1.11 Actava’s job is to “diligently promote” Matvil’s Service Offerings (defined as both

real-time and on-demand broadcasting), sign up customers for Matvil’s IPTV service, “register”

them “to [Matvil’s] site/database,” provide customer support, and “manage” the customers’

payments. Id. ¶ 1.b. Matvil, for its part, is responsible for providing the Service Offerings, billing

and collecting payment from the customers, and providing Actava with any information “necessary

to sign up customers and to provide customer support to said customers.” Id. ¶ 1.a. Matvil must

also pay Actava a referral fee, which varies depending on (among other things) whether the

referred customer is an “existing customer” or a “new customer,” but in most cases appears to cede

Actava a substantial percentage of the fee paid by the customer. Matvil warrants, in the Referral

Agreement, that “it is fully licensed to transmit, broadcast, display, and otherwise use all programs,

channels, content, and other materials . . . constituting or comprising the Service Offerings.” Id.

¶ 1f.ii.

           Tsoutiev attests that he carefully scrutinized the Referral Agreement before Actava entered

into it, to make sure that Actava would not “run afoul of the restrictions in the Injunctions,” and

concluded that nothing prohibited Actava from “promoting an authorized third party’s broadcast

of Plaintiffs’ channels, so long as the promotion did not visually display Plaintiffs’ marks without

authorization.” Tsoutiev Decl. ¶ 16. He explains that under the Referral Agreement, “it is Matvil,

not Actava, that broadcasts Plaintiffs’ channels.” Id. ¶ 21. “No video content is streamed to users

via the ActavaTV.com [sic] website or any other site owned or operated by Defendants.” Id. ¶ 23.



11
   The Actava Defendants filed a redacted copy of the Referral Agreement on the public docket.
The full text of the contract was made available to the Court and to plaintiffs’ counsel, but was
filed under seal. See 4/24 Tr. at 3:24-5:21; Dkt. Nos. 242, 249.
                                                   12
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 13 of 30



In fact, according to Tsoutiev, Actava no longer has any “broadband internet service,” does not

own, maintain, or operate any content delivery network (CDN), and “does not provide streaming

video, IPTV or television service to anyone.” Id. ¶ 24.

       These assertions are backed up, in somewhat greater technical detail, by Matvil CEO

Gayster and systems administrator Crivoi, who attest that Matvil uses its own CDN to deliver

content to subscribers, including those referred to it by Actava. See Declaration of Mikhail Gayster

dated Jan. 10, 2017 (Dkt. No. 159), ¶ 12; Declaration of Alexandr Crivoi dated Jan. 6, 2017 (Dkt.

No. 160), ¶ 3. The CDN, in turn, “feeds the content to edge servers (on which Matvil has leased

space), which then deliver Matvil’s broadcasting streams to Matvil’s customers (including those

subscribed by Actava TV),” all of whom must be “registered in [the] Matvil database” and have

Matvil “credentials.” Gayster Decl. ¶¶ 11-12; id. ¶ 18 (customers “must create accounts with

Matvil in order to access Matvil’s streaming service”); Crivoi Decl. ¶ 3. Actava “does not have

any access to, or means of controlling, Matvil’s CDN” or the edge servers. Gayster Decl. ¶ 12;

Crivoi Decl. ¶ 4.

       Some Matvil customers access Matvil’s servers directly, for example, via their computers.

Gayster Decl. ¶ 13. As to those customers, “Actava does not provide the stream, any application,

or any software.” Id. Other customers use a set-top box provided by Actava, which is pre-loaded

with the Matvil app. Id. ¶¶ 14, 22; see also Tsoutiev Decl. ¶ 15 & Ex. C. As to those customers,

the stream is still provided by Matvil, and the Matvil app “works only with the Matvil CDN.”

Gayster Decl. ¶ 14. No content goes through Actava’s Website. Id. ¶ 18.12



12
   These assertions, in turn, are supported by the Gilmer Report, which describes various tests
performed by Gilmer to determine “the source of the channel streams” available to viewers who
sign up through the Website. Gilmer concludes that the Website “redirects viewers to a password
protected Matvil web page,” where a customer must enter her Matvil usename and password, and
be “authorized” by Matvil’s servers, in order to access “Matvil’s streams.” Gilmer Rep. at 1. Even
                                                13
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 14 of 30



       Moreover, according to Gayster, it is Matvil, not Actava, that charges the customer’s credit

card for the content provided by Matvil. Gayster Decl. ¶ 20. Actava gets a cut of the subscription

payments made to Matvil, in the form of a referral fee, but that fee is paid by Matvil. Id. ¶¶ 20-21.

“The only payment Actava collects directly from Matvil customers is with respect to set-top boxes

or other equipment or technical support services that Actava sells to Matvil customers.” Id. ¶ 22;

see also Tsoutiev Decl. ¶ 25 (same).

       Tsoutiev does not deny that Actava benefits economically from the Referral Agreement.

However, he points out, the arrangement also benefits plaintiffs, in that “Plaintiffs have license

agreements with Matvil, and our promotion of Matvil’s service serves to increase Plaintiffs’ profits

under those agreements.” Tsoutiev Decl. ¶ 31. Gayster, for his part, confirms that Matvil possesses

“licenses, pursuant to confidential license agreements” with six of the plaintiffs in this action,

which “authorize” Matvil to “transmit, broadcast, distribute, display and/or otherwise use all of

these plaintiffs’ channels, programs, content, and other materials (including Plaintiffs’ trademarks,

logos and names).” Gayster Decl. ¶ 5. Gayster does not believe that Matvil’s agreements with

plaintiffs prohibit it from engaging Actava as a “dealer and/or marketer” on the terms set forth in

the Referral Agreement. Id. ¶ 24. He notes that “none of the Plaintiffs have complained to Matvil

about our work with Actava,” or threatened to terminate Matvil’s license agreements, “and we do

not believe that any of them would have the right to do so.” Id. ¶ 25.

       As for the radio ad, Tsoutiev acknowledges that Actava helped prepare the script and

arranged to run the ad on “Radio Davidzon.” Tsoutiev Decl. ¶ 26. However, he points out, only




when viewing content through an Actava set-top box, it is Matvil’s servers that “authorize the set
top box so it can receive Matvil’s streams and the user can view the Channels.” Id. Gilmer found
“nothing that indicates that Actava TV has access to or controls the [Matvil] CDN, or the
Channels.” Id.

                                                 14
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 15 of 30



Russian words were used in the ad, including (as transliterated by Tsoutiev) the Russian words

“Pervvy, Ten-n-te, Te-ve-tse and Dozhd,” rather than the English words “Channel One, TNT-

Comedy, CTC or Rain TV,” which are listed on Annex 1 to the Stipulated Injunction as plaintiffs’

Broadcasts. Id. ¶¶ 26-27. Nor, of course, did the radio ad display the logos listed on Annex 1 as

plaintiffs’ Marks. Id. Therefore, Tsoutiev concludes, the radio ad could not violate the literal terms

of the Stipulated Injunction. See id. ¶ 16 (“I saw nothing in the injunctions to suggest that in

addition to prohibiting display or other use of the ‘Marks’ shown in the Annexes, the injunctions

also included a prohibition on speaking the Russian words which are the names of the various

channels.”).

                       3.      Plaintiffs’ Reply Papers

       Plaintiffs do not dispute the facts set forth in the Actava Defendants’ opposition papers.13

To the contrary: they argue that the opposition papers “admit[] all the facts necessary” to make a

contempt finding and “make clear that [the Actava Defendants] are in knowing, contumacious

contempt of this Court’s clear Injunctions.” Pl. Reply Mem. at 2. Refining their arguments

somewhat, plaintiffs assert that the radio ad violated ¶¶ 2(c) and 2(d) of the Stipulated Injunction

(prohibiting the Actava Defendants from “infringing” or “making any use” of Plaintiffs’ Marks,

and from “publishing or distributing any promotional materials referring to Plaintiffs’ Broadcasts



13
   Among the facts that plaintiffs make no effort to dispute is that Matvil itself is licensed to
broadcast plaintiffs’ Channels via IPTV. See Gayster Decl. ¶ 5; 4/24 Tr. at 22:2-5 (“Matvil is
authorized to engage with consumers and distribute to consumers.”). As to Gayster’s related
assertion that Matvil’s agreements with plaintiffs “do not prohibit it from engaging Actava (or any
other third party) to act as a dealer and/or a marketer for Matvil’s services,” Gayster Decl. ¶ 24,
plaintiffs argue that Gayster is incorrect, see, e.g., Pl. Reply Mem. dated Jan. 20, 2016 (Dkt. No.
170), at 4 (“Matvil has no such authority”); 4/24 Tr. at 21:9-10 (“[t]here’s no distributor with an
ability to sub-license”), but have conspicuously failed to submit any actual evidence on the point
(such as, for example, their license agreements with Matvil). Gayster’s assertion that Matvil had
whatever authority it needed from plaintiffs to engage Actava pursuant to the Referral Agreement
must therefore be deemed undisputed.
                                                 15
      Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 16 of 30



or Marks,” in both cases without “authorization”), see id. at 3, and that helping consumers access

plaintiffs’ Broadcasts violates ¶ 2(a) (prohibiting the Actava Defendants from “[b]roadcasting, re-

broadcasting or otherwise transmitting Plaintiffs’ Broadcasts . . . without authorization”) and ¶ 2(b)

(prohibiting them from “directly or indirectly infringing or making any use, in any manner

whatsoever, of Plaintiffs’ Broadcasts including any associated programs without authorization”),

even if Matvil streamed the Broadcasts through its own servers. See id. at 7. “At a minimum,” in

plaintiffs’ view, Actava’s sale of set-top boxes pre-loaded with the Matvil app violates ¶¶ 2(a) and

2(b), because the set-top boxes – for which customers pay Actava directly – allow those customers

“to wrongfully access the Broadcasters’ Programming.” Id. at 7-9.

II.     APPLICABLE LAW

        A.     Civil Contempt

        The standards applicable to a motion for civil contempt are well-settled. A party may be

held in civil contempt for failure to comply with a court order if: (1) the order is clear and

unambiguous; (2) the proof of noncompliance is clear and convincing; and (3) the contemnor has

not diligently attempted to comply with the order in a reasonable manner. Paramedics

Electromedicina Comercial, Ltd., v. GE Med. Sys. Info. Tech., Inc., 369 F.3d 645, 655 (2d Cir.

2004); King v. Allied Vision, Ltd., 65 F.3d 1051, 1058 (2d Cir. 1995); A.V. By Versace, Inc. v.

Gianni Versace S.p.A., 446 F. Supp. 2d 252, 257 (S.D.N.Y. 2006). All three elements must be met

before contempt sanctions may be imposed. King, 65 F.3d at 1058; New York State Nat. Org. for

Women v. Terry, 886 F.2d 1339, 1351 (2d Cir. 1989).

        “A clear and unambiguous order is one that leaves ‘no uncertainty in the minds of those to

whom it is addressed.’” King, 65 F.3d at 1058 (quoting Hess v. New Jersey Transit Rail

Operations, Inc., 846 F.2d 114, 116 (2d Cir. 1988)). The alleged contemnor “‘must be able to

ascertain from the four corners of the order precisely what acts are forbidden.’” King, 65 F.3d at

                                                 16
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 17 of 30



1058 (quoting Drywall Tapers & Pointers, Local 1974 v. Local 530, Operative Plasterers Int’l

Ass’n, 889 F.2d 389, 395 (2d Cir. 1989)). Thus, “the only question for the Court” on a contempt

motion is whether the defendant’s conduct “has fallen within the coverage of the injunction, as

phrased,” not whether that conduct would have violated the underlying statutes on which the suit

was based. GMA Accessories, Inc. v. Eminent, Inc., 2008 WL 2355826, at *4 (S.D.N.Y. May 29,

2008) (citing Wella Corp. v. Wella Graphics, Inc. 37 F.3d 46, 47-48 (2d Cir. 1994); cf. CBS Broad.

Inc. v. FilmOn.com, Inc., 814 F.3d 91, 96, 98 (2d Cir. 2016) (where injunction expressly prohibited

infringement of “plaintiffs’ exclusive rights under Section 106(1)-(5) of the Copyright Act,” the

question whether its terms were “clear and unambiguous” was “directly related to whether the

Plaintiffs’ exclusive rights under the Copyright Act were clear and unambiguous”).

       Some courts also consider whether the defendant’s conduct “clearly and unambiguously

violated the spirit of the . . . Order.” Panix Promotions, Ltd. v. Lewis, 2004 WL 421937, at *5

(S.D.N.Y. Mar. 5, 2004) (declining to hold defendant in contempt where he violated the “letter”

of the order, which restricted him from engaging in financial transactions that could dilute his

liquidity, but where his conduct, “in hindsight, increased his net worth”). See also Titra California,

Inc. v. Titra Film, 2001 WL 1382587, at *5 (S.D.N.Y. Nov. 6, 2001) (“[I]t is the spirit of the order,

not the letter, than must be obeyed.”).

       “In the context of civil contempt, the clear and convincing standard requires a quantum of

proof adequate to demonstrate a ‘reasonable certainty’ that a violation occurred.” Levin v. Tiber

Holding Corp., 277 F.3d 243, 250 (2d Cir. 2002) (citation omitted); accord Leser v. U.S. Bank

Nat’l Ass’n, 2011 WL 1004708, at *10 (E.D.N.Y. Mar. 18, 2011); City of New York v. Golden

Feather Smoke Shop, Inc., 2010 WL 2653369, at *5 (E.D.N.Y. June 25, 2010). The movant bears

the burden of producing the required “clear and convincing” evidence. BeautyBank, Inc. v. Harvey



                                                 17
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 18 of 30



Prince LLP, 811 F. Supp. 2d 949, 956 (S.D.N.Y. 2011) (citing City of New York v. Local 28, Sheet

Metal Workers’ Int’l Ass’n, 170 F.3d 279, 282 (2d Cir. 1999)); see also Latino Officers Ass’n City

of N.Y., Inc. v. City of New York, 558 F.3d 159, 164 (2d Cir. 2009). “Evidence that would not be

admissible under established federal rules regarding the competency of evidence at trial may not

be considered on a motion for contempt.” Ceslik v. Miller Ford, Inc., 2006 WL 1582215, at *1 (D.

Conn. June 5, 2006) (citing United States v. Bukowski, 435 F.2d 1094, 1105-06 (7th Cir. 1970),

and 17 C.J.S. Contempt § 89).

        “Although the defendant’s conduct need not be willful, a plaintiff must also prove that . . .

the defendant has not been reasonably diligent and energetic in attempting to comply.” GMA

Accessories, 2008 WL 2355826, at *2 (quoting Chao v. Gotham Registry, Inc., 514 F.3d 280, 291

(2d Cir. 2008)); see also O’Hearn v. Bodyonics, Ltd., 56 F. Supp. 2d 302, 312-13 (E.D.N.Y. 1999)

(quoting Schmitz v. St. Regis Paper Co., 758 F. Supp. 922, 927 (S.D.N.Y. 1991)) (denying

contempt motion, even though plaintiffs presented clear and convincing evidence of

noncompliance with unambiguous order, because “the actions of the defendants were based on ‘a

good faith and reasonable interpretation of the court order’”).

       “Civil contempt sanctions may serve dual purposes, namely ‘to secure future compliance

with court orders and to compensate the party that has been wronged.’” Cordius Trust v.

Kummerfeld, 2009 WL 3416235, at *6 (S.D.N.Y. Oct. 23, 2009) (quoting Paramedics, 369 F.3d

at 657). Compensatory damages are available only where the moving party has suffered actual

damage. Time Warner Cable of New York City, a Div. of Time Warner Entm’t Co., L.P. v. U.S.

Cable T.V., Inc., 920 F. Supp. 321, 329 (E.D.N.Y. 1996) (refusing to award statutory damages

under Communications Act because “[i]n civil contempt proceedings, the plaintiff is not entitled

to compensation for damages that it did not actually experience”); see also Leadsinger, Inc. v.



                                                18
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 19 of 30



Cole, 2006 WL 2266312, at *17 (S.D.N.Y. Aug. 4, 2006) (“Plaintiff is not entitled to compensatory

damages without some evidence that defendant’s contemptuous conduct caused plaintiff to suffer

actual damages.”); U2 Home Entm’t, Inc. v. Wei Ping Yuan, 245 F. App’x 28, 30 (2d Cir. 2007)

(“the district court erred in imposing civil contempt sanctions equivalent to the maximum statutory

damages for ‘willful’ copyright violations under 17 U.S.C. § 504(c)(2)”) (emphasis in the original).

More generally, although federal courts have “broad discretion” to determine an appropriate

contempt sanction, “‘a court is obliged to use the least possible power adequate’” to bring about

compliance. Cordius Trust, 2009 WL 3416235, at *6 (quoting Spallone v. United States, 493 U.S.

265, 276 (1990)).

       B.      Magistrate Judge’s Authority

       Where, as here, the parties have not consented to the magistrate judge’s exercise of plenary

jurisdiction pursuant to 28 U.S.C. § 636(c), her role with regard to a civil contempt motion is

circumscribed by § 636(e). If the magistrate judge determines that “the moving party can adduce

sufficient evidence to establish a prima facie case of contempt,” Nimkoff Rosenfeld & Schechter,

LLP v. RKO Props., Ltd., 2014 WL 1201905, at *4 (S.D.N.Y. Mar. 24, 2014), objections overruled

in part, 2016 WL 3042733 (S.D.N.Y. May 24, 2016) (quoting Bowens v. Atl. Maint. Corp., 546 F.

Supp. 2d 55, 71 (E.D.N.Y. 2008), report and recommendation adopted, id. at 60), she “shall

forthwith certify the facts to a district judge,” who must then “hear the evidence as to the act or

conduct complained of” and impose contempt sanctions if warranted. 28 U.S.C.

§ 636(e)(6)(B)(iii). Accord, Trustees of Empire State Carpenters Annuity, Apprenticeship, Labor-

Mgmt. Cooperation v. Duncan & Son Carpentry, Inc., 2015 WL 3935760, at *3 (E.D.N.Y. June

26, 2015); Servaas Inc. v. Republic of Iraq, 2013 WL 5913363, at *2 (S.D.N.Y. Nov. 4, 2013);

Alston v. Select Garages LLC, 2013 WL 3357172, at *2 (S.D.N.Y. July 3, 2013).



                                                19
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 20 of 30



       Once the facts have been certified by the magistrate judge, “[t]he determination of whether

the conduct constitutes contempt and, if so, what sanctions are appropriate are left to the discretion

of the district court.” JSC Foreign Econ. Ass’n Technostroyexport v. Int’l Dev. & Trade Servs.,

Inc., 2006 WL 1148110, at *1 (S.D.N.Y. Apr. 28, 2006); see also Comverse, Inc. v. Am.

Telecomms., Inc. Chile S.A., 2009 WL 464446, at *2 (S.D.N.Y. Feb. 24, 2009) (“Here, the parties

did not consent to having [Magistrate] Judge Pitman exercise jurisdiction over the entirety of this

case, and thus this Court reviews the facts certified to determine whether the conduct constitutes

contempt and to fashion an appropriate remedy.”).

        If, on the other hand, the moving party does not establish a prima facie case of contempt,

the magistrate judge must decline to certify facts constituting contempt to the district judge and

may close the motion. See, e.g., MPD Accessories B.V. v. Urban Outfitters, Inc., 2013 WL

6869919, at *9 (S.D.N.Y. Dec. 23, 2013) (finding that “no basis exists for the Court to certify facts

to the assigned district judge in connection with the plaintiff’s motion for contempt” and closing

contempt motion); Alston, 2013 WL 3357172, at *3 (same); Ceslik, 2006 WL 1582215, at *2 (“the

court declines to certify the facts to the assigned district judge, as contemplated by 28 U.S.C.

§ 636(e)”); see also Trustees of Empire State Carpenters Annuity, Apprenticeship, Labor-Mgmt.

Cooperation, 2015 WL 3935760, at *4 (denying contempt motion, without prejudice to renewal,

where no “clear and unambiguous order” had yet been entered, such that there was “no rational

basis at this juncture for finding Duncan in contempt”).

        “[A] motion for contempt must be denied where the magistrate judge does not certify any

facts to the district court concerning the conduct.” Comverse, 2009 WL 464446, at *2 (citing Esso

Exploration and Prod. Chad, Inc. v. Taylors Int’l Servs. Ltd., 2008 WL 5146965, at *2 (S.D.N.Y.

Dec. 4, 2008)). Thus, in Comverse, the district judge limited his review to the question whether



                                                 20
       Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 21 of 30



“ATI Chile should be found in civil contempt, as the Magistrate Judge did not certify facts finding

[various individual defendants] in contempt of this Court.” 2009 WL 464446, at *2. See also Nova

Biomedical Corp. v. i-STAT Corp., 182 F.R.D. 419, 424 (S.D.N.Y. 1998) (denying motion for

contempt where magistrate judge did not certify any of the alleged contemnor’s conduct to the

district judge for determination of contempt); Bowens, 546 F. Supp. 2d at 71-72 (district court

“may not proceed further on a motion for contempt” where magistrate judge declined to certify the

conduct to the district judge) (internal quotation marks and citation omitted); Michelson v. Found.

Fin., Inc., 2014 WL 7366793, at *1 (S.D. Cal. Dec. 23, 2014) (“If the magistrate judge does not to

[sic] certify facts to the district court which may constitute contempt, the matter is considered

disposed of and the district court may not proceed further.”).

III.     ANALYSIS

         Given that the facts relevant to plaintiffs’ contempt motion are largely undisputed – indeed,

no party sought an evidentiary hearing – the primary question for the Court is whether Actava’s

conduct, as described in its own motion papers, violates one or more “clear and unambiguous”

provision(s) of the Stipulated Injunction. In making that determination, the Court must ask whether

the alleged contemnor could “ascertain from the four corners of the order” that its conduct was

forbidden. King, 65 F.3d at 1058. The “four corners” rule is fully applicable to injunctions entered

on consent. Crumpton v. Bridgeport Educ. Ass’n, 993 F.2d 1023, 1028 (2d Cir. 1993) (quoting

United States v. Armour & Co., 402 U.S. 673, 682 (1971)) (“like a contract, the scope of a consent

decree ‘must be discerned within its four corners’”); accord GMA Accessories, 2008 WL 2355826,

at *4; Scottish Air Int’l, Inc. v. British Caledonian Grp., PLC, 867 F. Supp. 262, 267 (S.D.N.Y.

1994) (collecting cases).14 Thus, the meaning of the Stipulated Injunction must be determined from


14
  Like a contract, a consent decree may also be interpreted – where ambiguous – in accordance
with extrinsic evidence of the parties’ intent, including “the circumstances surrounding the
                                                  21
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 22 of 30



its language, not the language of the parties’ Settlement Agreement, the terms of which were never

“so-ordered” by the Court or incorporated into the Stipulated Injunction.15

       A.      Paragraph 2(a)

        Paragraph 2(a) of the Stipulated Injunction prohibits the Actava Defendants from

“[b]roadcasting, re-broadcasting or otherwise transmitting” plaintiffs’ Broadcasts (that is, their

Channels) “without authorization.” Advertising and promoting Matvil’s service, whether on the

Website or on the radio, does not violate this provision. Nor is Actava in contempt merely by

redirecting customers from its Website to the Matvil website, where they can sign up for Matvil’s

service or download the Matvil app, so long as it is Matvil, not Actava, that delivers plaintiffs’

content through its own servers, using its own software, and authenticates the customers through


formation of the decree.” King, 65 F.3d at 1059. Here, it is clear that the Stipulated Injunction was
intended to settle, in part, claims that the Actava Defendants were broadcasting plaintiffs’
Channels without any license, sublicense, or other authority to do so. Beyond that, however, the
parties have presented no evidence concerning the “circumstances surrounding the formation of
the [Stipulated Injunction],” and very little evidence concerning the intent of the specific
provisions now at issue. Tsoutiev attests, in general terms, that it is his “understanding” that the
Stipulated Injunction permits Actava to promote “an authorized third party’s broadcast of
Plaintiffs’ channels,” Tsoutiev Decl. ¶ 16, but does not explain the basis of his understanding.
Plaintiffs, for their part, provide no evidence at all concerning their negotiation of the Stipulated
Injunction or their understanding of its terms.
15
  Had the Settlement Agreement been incorporated into the Stipulated Injunction, the Court would
not only have the power to consider its terms but could enforce them through its contempt power.
See Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 381, 114 S. Ct. 1673, 1677
(1994); Roberson v. Giuliani, 346 F.3d 75, 82 (2d Cir. 2003); Latino Officers Ass’n v. City of New
York, 519 F. Supp. 2d 438, 443 n.23 (S.D.N.Y. 2007) (court had “the authority to issue a contempt
order” for violation of parties’ settlement agreement where the terms of that agreement were
approved by district judge and incorporated into judgment and order in which court expressly
retained jurisdiction for enforcement purposes). But none of those things happened here. The
Settlement Agreement was intentionally kept confidential by the parties and has never been
submitted to the Court except in redacted form. Moreover, the Stipulated Injunction makes only a
passing reference to the Settlement Agreement – reciting that the parties “entered into a
confidential settlement pursuant to which Defendants have satisfied Plaintiffs’ claims for financial
damages,” Stip. Inj. at ECF Page 2 – and limits the Court’s continuing enforcement jurisdiction to
“this Injunction.” Id. ¶ 6.


                                                 22
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 23 of 30



its own website. Thus, in the scenario where the customer accesses Matvil’s CDN directly, via

computer or “smart TV,” see Vidulich Decl. ¶¶ 2-5, Actava’s role in “referring” the customer to

Matvil does not appear to violate ¶ 2(a) of the Stipulated Injunction.

       Plaintiffs argue that even if the referral itself does not violate ¶ 2(a), Actava is disobeying

the Stipulated Injunction by selling set-top boxes pre-programmed with the Matvil app to its own

customers. When those customers watch one of plaintiffs’ Channels, plaintiffs contend, some form

of “transmission” must occur between the Matvil servers and the Actava set-top box, and/or

between the set-top box and the television set itself. See Pl. Reply Mem. at 7-8; Gilmer Rep. at 1

(Actava’s set-top box “communicates with Matvil servers,” which “authorize” the set-top box “so

it can receive Matvil’s streams and the user can view the Channels”). Under this scenario, the

content is delivered from Matvil to the customer via a technological chain that includes, as a

necessary link, the Actava set-top box. Therefore, plaintiffs conclude, Actava must be deemed to

be “transmitting” plaintiffs’ Channels in the ordinary dictionary sense of the word. See, e.g.,

Merriam-Webster Online, www.merriam-webster.com/dictionary/transmit (last accessed Sept. 27,

2017) (“to send or convey from one person or place to another”); American Heritage College

Dictionary (3d ed. 1993) (“[t]o send from one person, thing, or place, to another; convey”).

       This argument has some force. However, even assuming that Actava is “transmitting”

plaintiffs’ Channels through its pre-programmed set-top boxes, such transmission violates the

injunction only if Actava is acting without “authorization.” Stip. Inj. ¶ 2(a). Plaintiffs urge the

Court to read that phrase as requiring express authorization from plaintiffs themselves, in the form

of a direct license. This is consistent, they say, with the language of the Settlement Agreement,

which prohibits the Actava Defendants from broadcasting, copying, distributing or otherwise using

plaintiffs’ Programming and Channels “without the express written consent of the relevant



                                                 23
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 24 of 30



Plaintiffs or an authorized representative thereof.” Sett. Ag. ¶ 6(d)(iv). Similarly, the Settlement

Agreement permits Tsoutiev to “seek to enter into a license agreement with a Plaintiff or

Plaintiffs . . . without breaching this Agreement.” Id. ¶ 6(e). Thus, in plaintiffs’ view, the Stipulated

Injunction is “so broad” that the Actava Defendants “literally can’t do anything . . . except as

provided in the Settlement Agreement.” 4/24 Tr. at 20:11-14; see also id. at 24:1-4 (“we say in the

settlement agreement the only way that Actava can do any of this [stuff] . . . is to get the express[]

written consent of the plaintiffs”); Pl. Reply Mem. at 4 (“as part of the Settlement Agreement,

[plaintiffs] provided Actava with a way to obtain legitimate access to [plaintiffs’] Programming

which they have not sought to utilize”).

        The Actava Defendants counter that the word “authorization” is nowhere defined in the

Stipulated Injunction, and therefore is at best ambiguous, such that they cannot be held in contempt

so long as their conduct is “authorized” by Matvil, which is itself licensed – that is, authorized by

plaintiffs – to broadcast plaintiffs’ Channels via IPTV. See Def. Mem. in Opp. dated Jan. 13, 2016

(Dkt. No. 162), at 21 (“Actava reasonably understood authorization to mean with a license, and

structured its dealer partnership with Matvil accordingly”); Gayster Decl. ¶ 5 (Matvil “has obtained

licenses” permitting it to “transmit, broadcast, distribute, display and otherwise use all of plaintiffs’

channels, programs, content and other materials (including Plaintiffs’ trademarks, logos, and

names).”).

        In the context of civil contempt, the Actava Defendants have the better end of this

argument. Plaintiffs’ reliance on the Settlement Agreement to expand the prohibitions of the

Stipulated Injunction violates the “four corners” rule. See King, 65 F.3d at 1058 (“Because a decree

is the sole source of the parties’ rights, a district court may not impose obligations on a party that

are not unambiguously mandated by the decree itself.”) (internal citations omitted). It also serves



                                                   24
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 25 of 30



to illustrate how the parties might have clearly and unambiguously defined “authorization” in the

Stipulated Injunction to mean “the express written consent of plaintiffs,” had they wished to do so.

See A.V. by Versace, Inc. v. Gianni Versace S.p.A., 87 F. Supp. 2d 281, 292 (S.D.N.Y. 2000)

(denying contempt motion where preliminary injunction obtained by Gianni Versace did not

unambiguously prohibit certain activity abroad and noting that “had Gianni truly wanted such

activity prohibited, it could easily have proposed and drafted an order that explicitly forbid it”).

Moreover, to the extent that the intent of the Stipulated Injunction was to prevent the Actava

Defendants from offering unlicensed content (or, put another way, to make sure that plaintiffs

earned license fees whenever the Actava Defendants provided their Channels to viewers),

construing the term “authorization” to include indirect authorization would be consistent with “the

spirit of the order.” Titra California, 2000 WL 1382587, at *5. See Tsoutiev Decl. ¶ 31 (since

“[p]laintiffs have license agreements with Matvil,” “our promotion of Matvil’s service serves to

increase Plaintiffs’ profits under those agreements.”)

       Plaintiffs concede that Matvil itself has the necessary licenses to transmit plaintiffs’

Channels via IPTV. See 4/24 Tr. at 22:2-5. Further, while plaintiffs argue that Matvil cannot

sublicense its rights – and therefore cannot provide “authorization” – to the Actava Defendants,

see, e.g., 4/24 Tr. at 22:25-23:1 (Matvil “has breached any license agreement that was issued”),

they have not submitted any evidence to support that claim. Nor, for that matter, have they

“complained to Matvil” about the Referral Agreement. Gayster Decl. ¶ 25. Plaintiffs therefore fall

well short of establishing the alleged contemnors’ noncompliance by “clear and convincing”

evidence. See BeautyBank, Inc., 811 F. Supp. 2d at 955-56; Latino Officers Ass’n, 558 F.3d at 164;

Ceslik, 2006 WL 1582215, at *1. Given this record, I cannot conclude that Actava’s sale of set-

top boxes pre-loaded with the Matvil app violates ¶ 2(a) of the Stipulated Injunction.



                                                25
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 26 of 30



       B.      Paragraph 2(b)

       Paragraph 2(b) of the Stipulated Injunction prohibits the Actava Defendants from “directly

or indirectly infringing or making any use, in any manner whatsoever, of Plaintiffs’ Broadcasts

including any associated programs without authorization.” Plaintiffs apparently read this language

to prohibit Actava from marketing Matvil’s IPTV service in any way, regardless of which

company’s servers, software, or website deliver plaintiffs’ Channels to the customers. See Pl.

Reply Mem. at 7 (arguing that both ¶ 2(a) and ¶ 2(b) are violated when Actava’s Website redirects

viewers to the Matvil website, because “minor technological differences cannot defeat the

[contempt] motion”).

       I cannot conclude that the Actava Defendants are “infringing . . . Plaintiffs’ Broadcasts”

by redirecting customers or engaging in the related marketing conduct contemplated by the

Referral Agreement. Indeed, the term “infringing” is inherently ambiguous where, as in ¶ 2(b), a

party is prohibited from infringing a “Broadcast,” that is, a television channel, without identifying

any specific rights that are capable of infringement and intended to be protected. In CBS Broad.

Inc. v. FilmOn.com, repeatedly cited by plaintiffs (see Pl. Mem. of Law at 8, 9, 11, 12, 13-14, 18),

the injunction expressly prohibited infringement of “plaintiffs’ exclusive rights under Section

106(1)-(5) of the Copyright Act.” 814 F.3d at 98. The court found this language sufficiently clear

and unambiguous to support contempt sanctions when FilmOn continued to “us[e] its Teleporter

System to broadcast the Plaintiffs’ copyrighted content” after the Supreme Court held in Aereo,

134 S. Ct. at 2511, that such systems violated the Copyright Act. CBS Broad Inc., 814 F.3d at 97-

99 (“there is no doubt that the Supreme Court’s holding [in Aereo] explicitly slammed shut the

possibility that FilmOn could continue deploying the Teleporter System throughout the Second

Circuit, absent a license, without violating the Copyright Act”). Here, by way of contrast, ¶ 2(b)

does not even inform Actava whether it must avoid infringing plaintiffs’ copyrights, their
                                                 26
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 27 of 30



trademarks, their patents, or some other rights. It therefore leaves considerable “doubt” as to

“precisely what acts are forbidden.” CBS Broad Inc., 814 F.3d at 98 (quoting Drywall Tapers &

Pointers, 889 F.2d at 395).16

        Nor is plaintiffs’ motion saved by ¶ 2(b)’s broad language prohibiting the Actava

defendants from “making any use, in any manner whatsoever,” of plaintiffs’ Broadcasts. During

oral argument, plaintiffs’ counsel characterized the language of the Stipulated Injunction as

“extremely broad,” such that the Actava Defendants “can’t do anything with our mark or our

product” and are “specifically forbidden” from, among other things, making “[a]ny agreement with

Matvil.” 4/24 Tr. at 20:17-21:1. Plaintiffs are correct that the “making any use” language is

“extremely broad.” In this case, however, that is a weakness, not a strength, at least insofar as

plaintiffs rely on it to penalize conduct that “uses” the Broadcasts only in the attenuated sense of

marketing (and being paid to market) another company’s lawful transmission of those Broadcasts,

using its own servers and software, pursuant to a license.

       By the same logic, plaintiffs might claim that it would be contemptuous for the Actava

Defendants to manufacture “smart TVs” capable of being programmed to receive plaintiffs’

Channels. Although plaintiffs do not make that assertion here (in fact, they disclaimed it at oral

argument, see 4/24 Tr. at 17:18:12; id. at 26:9-13), the hypothetical illustrates the difficulty of

concluding that ¶ 2(b) “clearly and unambiguously” prohibits the conduct contemplated by the

Referral Agreement. Cf. A.V. By Versace, Inc., 446 F. Supp. 2d at 273 (where injunction prohibited

defendant from “making any use anywhere in the world of the name ‘Versace,’” defendant’s

production of cigarette packaging “with the words ‘Designed by Mark Versace’ plainly violates



16
   Moreover, plaintiffs have presented no evidence that the Actava Defendants have actually
infringed any of their copyrights, trademarks, or other intellectual property rights in the
Broadcasts.
                                                27
    Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 28 of 30



the injunction’s prohibition”). Moreover, even if the Referral Agreement and all attendant

activities could be deemed within the prohibition of ¶ 2(b), plaintiffs would still be required to

establish that the Actava Defendants acted “without authorization.” As explained above, the term

“authorization” is itself ambiguous, preventing me from concluding that the Actava Defendants

have violated ¶ 2(b).

       C.      Paragraphs 2(c) and 2(d)

       Paragraphs 2(c) and 2(d) specifically prohibit the Actava Defendants from, among other

things, using plaintiffs’ “Marks as identified in Annex 1,” and from publishing or distributing any

“promotional materials referring to Plaintiffs’ Broadcasts or Marks,” in both cases “without

authorization.” These provisions, unlike ¶ 2(b), are both concrete and precise in that they refer

specifically to the Channels and logos listed on Annex 1 to the Stipulated Injunction. Hoping to

turn that specificity to advantage, the Actava Defendants argue that they have never listed

plaintiffs’ Broadcasts or displayed plaintiffs’ Marks on their Website, and that while they “referred

to” the Broadcasts in their radio ad, they did so orally, in Russian, rather than using the English

names or the visual logos listed on Annex 1. See Def. Mem. in Opp. at 18 (“[I]n no way was

Actava’s oral enunciation of these Russian words a use of plaintiffs’ visual trademarks identified

in the Annex[].”). Defendants’ argument elides the crux of the problem, which is that ¶ 2(d)

prohibits them from (without authorization) publishing or distributing any “promotional material”

that “refer[s] to Plaintiffs’ Broadcasts.” Clearly the radio ad was “promotional material.” Just as

clearly, the ad “referred to” plaintiffs’ Broadcasts (that is, their Channels) by naming several of

them in the language most familiar to the radio audience.

       For these reasons, I would conclude that the radio ad violated a clear and unambiguous

provision of the Stipulated Injunction – but for the recurring question of “authorization.” Once

again, plaintiffs’ motion founders on this point, because Gayster has asserted under oath that
                                                 28
      Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 29 of 30



Matvil is “authorized to . . . use,” among other things, “Plaintiffs’ trademarks, logos, and names.”

Gayster Decl. ¶ 5; see also Ref. Ag. ¶ 1.f.ii (warranting that Matvil is “fully licensed” to “use,”

among other things, “all channels, programs, content, and other materials . . . comprising the

Service Offerings,” including “all third party trademarks, logos, and names”). Plaintiffs have

presented no evidence to the contrary. Nor (in all likelihood) could they, since a licensed IPTV

broadcaster could hardly operate as such without the right to use the names of the channels it offers

in advertisements. Once again, therefore, I cannot conclude that the alleged contemnors’ conduct

violates the clear and unambiguous terms of the Stipulated Injunction.

        Because plaintiffs have not presented clear and convincing proof that the Actava

Defendants violated one or more clear and unambiguous provisions of the Stipulated Injunction,

there is no need for me to consider the third prong of the test for civil contempt, namely, whether

the alleged contemnors “diligently attempted to comply in a reasonable manner,” Paramedics, 369

F.3d at 655 (quoting King, 65 F. 3d at 1058).17

IV.     CONCLUSION

        For the reasons set forth above, I find that plaintiffs have not made out a prima facie case

of contempt, and therefore that no basis exists for the certification of facts constituting contempt




17
   I note, however, that the Actava Defendants’ failure to “seek clarification” from the Court before
entering into the Referral Agreement, see Pl. Mem. of Law at 11, would not, standing alone,
establish their lack of diligence. To be sure, an enjoined party genuinely unsure of its obligations
may petition the court “for a modification, clarification, or construction” of the order, see, e.g.,
CBS Broad Inc., 814 F.3d at 99-100 (quoting McComb v. Jacksonville Paper Co., 336 U.S. 187,
192 (1949)), and perhaps would be well advised, in some cases, to do so. But the Actava
Defendants had no affirmative duty to file such a petition before testing their own interpretation
of the Stipulated Injunction. To the contrary: “[t]he longstanding, salutary rule in contempt cases
is that ambiguities and omissions in orders redound to the benefit of the person charged with
contempt.” A.V. by Versace, 87 F. Supp. 2d at 291 (quoting Drywall Tapers, 889 F. 2d at 400
(Mahoney, J., concurring in part and dissenting in part)).

                                                  29
     Case 1:16-cv-01318-GBD-BCM Document 359 Filed 09/27/17 Page 30 of 30



to the district judge. Plaintiffs’ motion for civil contempt sanctions is DENIED. The Clerk of the

Court is respectfully directed to close Dkt. No. 149.18

Dated: New York, New York
       September 27
                 __, 2017


                                              SO ORDERED.




                                              ________________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge




18
  As noted above, the parties’ Settlement Agreement is not before the Court for enforcement.
Consequently, I express no opinion as to whether the Actava Defendants have violated that
contract.

                                                30
